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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


In re Delta Dental Antitrust Litigation,                No. 1:19-cv-06734
MDL 2931

This document relates to:

Swiecinski v. Delta Dental Ins. Co. et al.,             Hon. Elaine E. Bucklo
No. 1:20-cv-02539



STIPULATION REGARDING TIME TO RESPOND TO CLASS ACTION COMPLAINT
                AND WAIVER OF SERVICE OF PROCESS

        Plaintiff David J. Swiecinski, DDS (“Plaintiff”) and Defendants1, by and through their

undersigned counsel, respectfully request that this Court enter the below Order regarding

Defendants’ time to respond to Plaintiff’s Class Action Complaint. In support of this request, the

parties state as follows:




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  Defendants include Delta Dental Insurance Company; DeltaUSA; Delta Dental Plans
Association (“DDPA”); Arizona Dental Insurance Service, Inc. d/b/a Delta Dental of Arizona;
Delta Dental Plan of Arkansas, Inc.; Delta Dental of California; Colorado Dental Service Inc.
d/b/a Delta Dental of Colorado; Delta Dental of Connecticut, Inc.; Delta Dental of Delaware;
Delta Dental of the District of Columbia; Hawaii Dental Service; Delta Dental Plan of Idaho,
Inc. d/b/a Delta Dental of Idaho; Delta Dental of Illinois; Delta Dental Plan of Indiana, Inc.;
Delta Dental of Iowa; Delta Dental of Kansas Inc.; Delta Dental of Kentucky, Inc.; Maine Dental
Service Corporation d/b/a Delta Dental Plan of Maine; Dental Service of Massachusetts Inc.
d/b/a Delta Dental of Massachusetts; Delta Dental Plan of Michigan, Inc.; Delta Dental of
Minnesota; Delta Dental of Missouri; Delta Dental of Nebraska; Delta Dental Plan of New
Hampshire, Inc.; Delta Dental of New Jersey, Inc.; Delta Dental Plan of New Mexico, Inc.; Delta
Dental of New York; Delta Dental of North Carolina; Delta Dental Plan of Ohio, Inc.; Delta
Dental Plan of Oklahoma; Oregon Dental Service d/b/a Delta Dental of Oregon; Delta Dental of
Pennsylvania; Delta Dental of Puerto Rico; Delta Dental of Rhode Island; Delta Dental of South
Dakota; Delta Dental of Tennessee; Delta Dental Plan of Vermont, Inc.; Delta Dental of
Virginia; Delta Dental of Washington; Delta Dental of West Virginia; Delta Dental of
Wisconsin, Inc.; and Delta Dental Plan of Wyoming d/b/a Delta Dental of Wyoming.
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       1.      Plaintiff’s Complaint was filed on April 10, 2020 in the United States District

Court for the District of New Jersey. The Defendants have not yet been served.

       2.      On March 27, 2020, the United States Judicial Panel on Multidistrict Litigation

(the “JPML”) issued a transfer order consolidating fourteen related civil actions that have been

filed against various groups of Defendants in multiple district courts. The JPML ordered the

actions transferred to the Northern District of Illinois and assigned the Honorable Elaine E.

Bucklo for coordinated and consolidated pretrial proceedings.

       3.      On April 8, 2020, the JPML issued a Conditional Transfer Order (“CTO-1”)

transferring nine additional related actions to the Northern District of Illinois for consolidation

with the multidistrict litigation (“MDL”) pending before this Court.

       4.      And on April 24, 2020, the JPML issued a second Conditional Transfer Order

(“CTO-2”) transferring Plaintiff’s Complaint to the Northern District of Illinois for consolidation

with the MDL pending before this Court.

       5.      As of the date of this filing, a consolidated amended complaint covering all of the

related actions in the MDL has not been filed.

       6.      So as to minimize the burden on the Court and the parties prior to the filing of a

consolidated amended complaint, Plaintiff and Defendants have stipulated to the following order:

               A.     Defendants waive formal service of process pursuant to Federal Rule of

Civil Procedure 4(d), and such waiver shall date back to the date of filing of Plaintiff’s

Complaint, April 10, 2020.

               B.     If the Court orders the plaintiffs in the MDL to file a consolidated

amended complaint covering the related actions, Defendants shall, as permitted by Rule 12 of the

Federal Rules of Civil Procedure, answer, move, or otherwise plead in response to the operative



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complaint within sixty (60) days after plaintiffs in the MDL serve a consolidated amended

complaint. If Defendants move in response to the operative complaint, Plaintiff will have the

same time to oppose as provided to Defendants to move.

               C.      If the Court orders that the plaintiffs in the MDL do not need to file a

consolidated amended complaint, Defendants shall, as permitted by Rule 12 of the Federal Rules

of Civil Procedure, answer, move, or otherwise plead in response to the operative complaint

within thirty (30) days after service of such ruling. If Defendants respond to the operative

complaint by filing a motion under Rule 12, Plaintiff shall have thirty (30) days to file an

opposition, after which Defendants shall have twenty-one (21) days to file a reply.

               D.      Plaintiff and Defendants further stipulate and agree that the entry into this

stipulation by Defendants shall not constitute a waiver of any affirmative defenses under Rule 8

of the Federal Rules of Civil Procedure, a waiver of any right to compel arbitration of any claim

or issue in this or any other action, or a waiver of any other statutory or common law defenses

that may be available to Defendants in this and the other related actions. Defendants expressly

reserve their rights to raise any such defenses in response to either the current Complaint or any

amended complaint that may be filed relating to this action.

               E.      This action is stayed for all purposes and shall not proceed except as

outlined in this Stipulation or by order of the Court.




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Dated: June 12, 2020                       Respectfully submitted,

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Dated: June 12, 2020                                 Respectfully submitted,

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SO ORDERED this ________ day of June, 2020.



   HONORABLE ELAINE E. BUCKLO




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2020, I caused a true and correct copy of the foregoing

STIPULATION REGARDING TIME TO RESPOND TO CLASS ACTION COMPLAINT

AND WAIVER OF SERVICE OF PROCESS to be filed with the Clerk of the United States

District Court for the Northern District of Illinois, Eastern Division, using the electronic case

filing system of the Court. The electronic case filing system sent a “Notice of E-Filing” to the

attorneys of record in this case.



                                                           /s/ Britt M. Miller
                                                           Britt M. Miller




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